
SAVOY, Judge.
Neither appellant nor appellee appeared in person or through counsel when this case was called for argument on the date it had been docketed for hearing, and no briefs have been filed in their behalf. The appeal, therefore, is considered as having been abandoned; and accordingly, the appeal is hereby dismissed. Rule VII, Section 5(b), Uniform Rules of the Courts of Appeal, 8 LSA-R.S. (1964 p.p.) ; Stevens v. Allen (La.App., 3 Cir., 1966), 184 So. 2d 601, and the authorities therein cited. The costs of this appeal are assessed to plaintiff-appellant. LSA-C.C.P. Article 2164.
Appeal dismissed.
